Case 2:OO-cV-02608-STA-tmp Document 345 Filed 06/03/05 Page 1 of 3 Page|D 322

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IN THE UNITED sTATEs nISTRICT CoURT man ev_.__%~_._.-,._n.c
FoR THE WESTERN DISTRICT oF TENNESSEE
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MARILYN JOHNSON, et al., ) W g GF: TN, r`_a_§¢\,ql-'>H;S
Plaintit`fs, ) /
) No. 00-26()8 D/P
vs. ) &
) No. 04-2017 D/P
CITY oF MEMPHIS, )
Defendant. )

FLORENCE BILLINGSLEY, et al.,
Plaintiffs,
No. 04-2013 D/An

VS.

ClTY OF MEMPHIS,
Defendant.

 

ORDER GRANTING DEFENDANT’S UNOPPOSED
MOTION TO EXCEED THE MEMORANDUM PAGE LIMIT ESTABLISHED BY
LOCAL RULE 7.2(e) FOR DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

 

This matter is before the Court on the City’S motion to exceed the memorandum page
limit established by Local Rule 7.2(€) for the City’s Motion for Summary Judgment. After
consideration of this motion and for good cause Shown, the City of Memphis is permitted to

exceed the page limitation established by the local rule and file its Motion for Sumn'iary

affd/w

ED STATF_MSTRICT .TUDGE BERNICE DONALD

.,ludgment not to exceed thirty-five (35) pages in length

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with Flule 58 and/or 79(a) FHCP on

 

 

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Honorable Bernice Donald
US DISTRICT COURT

